            Case 1:15-cr-00272-DAD-BAM Document 52 Filed 12/02/15 Page 1 of 3

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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00272 AWI BAM
11
     Plaintiff                                           STIPULATION AND PROTECTIVE ORDER
12
     v.
13
     KASPER KASPERIAN, EDMOND
14   HORMOZI AND JOSEPH ATTAWAY,

15   Defendants

16

17

18                STIPULATION REGARDING DISCOVERY AND PROTECTIVE ORDER
             The United States of America, by and through BENJAMIN B. WAGNER, United States
19
     Attorney, and Melanie L. Alsworth, Assistant United States Attorney, and the defendants, through their
20
     respective counsel of record, hereby stipulate as follows
21
             1.     This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
22
     Criminal Procedure, and its general supervisory authority.
23
             2.     This Order pertains to all recordings and statements of witnesses provided to or made
24
     available to Defense Counsel as part of discovery in this case or to comply with trial obligations
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     pursuant to Title 18, United States Code, Section 3500 (the Jenck’s Act), or to comply with Brady and
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     Giglio obligations.
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           Case 1:15-cr-00272-DAD-BAM Document 52 Filed 12/02/15 Page 2 of 3

 1          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 2 recordings, documents or statements of witnesses with anyone other than designated defense

 3 investigators and support staff. Defense Counsel may review the contents of recordings and documents

 4 with the defendants, and the parties agree that Defense Counsel, defense investigators and support staff

 5 shall not allow the defendants to copy such information.

 6          4.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to disclose

 7 the identity of any witness. Defense counsel agrees that he or she will not provide the defendants with

 8 any documentation identifying the witnesses. Defense Counsel agrees to admonish Defendants not to

 9 disclose the identities of any witnesses.

10          5.      The discovery and information provided by the Government may only be used in

11 connection with the litigation of this case and for no other purpose. The discovery is now and will

12 forever remain the property of the United States Government. Defense Counsel will return the

13 discovery to the Government or certify that it has been shredded at the conclusion of the case.

14          6.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

15 ensure that it is not disclosed to third persons in violation of this agreement.

16          7.      Defense Counsel shall be responsible for advising his or her respective defendant,

17 employees, and other members of the defense team, and defense witnesses of the contents of this

18 Stipulation/Order.

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           Case 1:15-cr-00272-DAD-BAM Document 52 Filed 12/02/15 Page 3 of 3

 1         8.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

 2 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

 3 this Order.

 4         IT IS SO STIPULATED.

 5 Dated: November 30, 2015                              BENJAMIN B. WAGNER
                                                         United States Attorney
 6

 7                                                       /s/Melanie L. Alsworth
                                                         MELANIE L. ALSWORTH
 8                                                       Assistant United States Attorney
 9

10 Dated: November 30, 2015                             /s/Anthony Capozzi
                                                        ANTHONY CAPOZZI
11                                                      Attorney for Defendant Kasperian
12

13 Dated: November 30, 2015                             /s/Eric Fogderude
                                                        ERIC FOGDERUDE
14                                                      Attorney for Defendant Hormozi
15

16 Dated: November _30, 2015                            /s/Janet Bateman
                                                        JANET BATEMAN
17                                                      Attorney for Defendant Attaway
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     IT IS SO ORDERED.
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21      Dated:    December 2, 2015                         /s/ Barbara A. McAuliffe             _
                                                     UNITED STATES MAGISTRATE JUDGE
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